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 4   Attorney for Defendant
     BRIAN PICKARD
 5

 6                               UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                          No. 2:11-cr-00449-KJM-16

10                  Plaintiff,                          STIPULATION TO EXTEND TIME
                                                        FOR POSTING PROPERTY BOND
11          v.                                          BY TWO ADDITIONAL WEEKS
                                                        TO DECEMBER 14, 2011
12   BRIAN PICKARD,

13                  Defendant.
                                              /
14

15          IT IS HEREBY STIPULATED between the parties that the time for defendant BRIAN

16   PICKARD to post the property bond with this Court in order to secure his pretrial release shall

17   be extended by two weeks from November 30, 2011, to December 14, 2011.

18          IT IS SO STIPULATED.

19                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
20

21   /S/ZENIA K. GILG                             By:     /S/SAMUEL WONG
     ZENIA K. GILG                                        SAMUEL WONG
22   Attorneys for Defendant                              Assistant U.S. Attorney
     BRIAN PICKARD                                        Dated: November 29, 2011
23   Dated: November 29, 2011

24

25                                                ORDER

26          IT IS SO ORDERED.

27          Dated: December 1, 2011
                                                   /s/ Gregory G. Hollows
28                                                UNITED STATES MAGISTRATE JUDGE
